                                                          Exhibit 6


Jake Doran

From:                              Jake Doran
Sent:                              Friday, June 30, 2023 4:40 PM
To:                                Justin Winch
Subject:                           RE: Washington v Safepoint - Depo Dates and Meet and confer re disclosures
Attachments:                       Discovery Verification.pdf; Washington Interrogatories to Plaintiff.pdf; Washington
                                   Request for Production to Plaintiff.pdf; HIPAA.pdf



Justin,

Please see the attached Interrogatories, Request for Production, and corresponding forms. Feel free to contact
me if you would like to discuss further.

Best,
Jake

From: Jake Doran
Sent: Thursday, June 15, 2023 4:57 PM
To: Justin Winch <justin.winch@winchlawfirm.com>
Subject: RE: Washington v Safepoint - Depo Dates and Meet and confer re disclosures

Justin,

I have attached the proposed Joint Status Report. Please let me know if you approve of the content and give me
permission to e-sign for you or provide your inserts/comments by 2 PM tomorrow, or I will have to file the
attached unilaterally to comply with the Court’s deadline.

Best,
Jake

From: Jake Doran
Sent: Wednesday, June 14, 2023 4:11 PM
To: Justin Winch <justin.winch@winchlawfirm.com>
Subject: RE: Washington v Safepoint - Depo Dates and Meet and confer re disclosures

Hi Justin,

Please see the attached Rule 26 Disclosures and corresponding documents.

Best,
Jake

From: Justin Winch <justin.winch@winchlawfirm.com>
Sent: Thursday, April 20, 2023 4:16 PM
To: Jake Doran <jdoran@bluewilliams.com>
Subject: Re: Washington v Safepoint - Depo Dates and Meet and confer re disclosures

Confirmed thank you sir. Relax and enjoy — ideally, you will only do this once in your life. Lol.
                                                             1
                                              Exhibit 6




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                         *        CIVIL ACTION NO.:
                                                          *        2:22-04054
 VERSUS                                                   *
                                                          *
                                                          *        CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                              *        NANNETTE JOLIVETTE
                                                          *        BROWN
                                                          *
                                                          *        MAGISTRATE JUDGE
                                                                   DONNA PHILLIPS
                                                                   CURRAULT
 ***************************                              *


                                       INTERROGATORIES


   TO:         Glenn Washington
               Through his attorney of record
               Justin Winch
               WINCH LAW FIRM, LLC
               1000 Veterans Memorial Boulevard, Suite 216
               Metairie, LA 70005

       NOW COMES Safepoint Insurance Company (“Safepoint”), who propounds the

following Interrogatories to Glenn Washington to be responded to, in writing, within thirty (30)

days after receipt hereof pursuant to Rule 33 of the Federal Rules of Civil Procedure, which

requests shall be deemed continuing:

INTERROGATORY NO. 1:

       Please identify each person or entity known, interviewed or reasonably felt by Plaintiff, his

attorney, or other representative to be an eyewitness or non-eyewitness, to any facts pertaining to

the alleged damage to address 1725 Nunez Street A-C, New Orleans, Louisiana 70114 on or about

August 29, 2021, or who has knowledge of some of the facts or circumstances upon which the

averments in Plaintiff’s Petition for Damages are based.

INTERROGATORY NO. 2:

       Identify every person, including but not limited to an adjuster, inspector or contractor who

has inspected, repaired, upgraded, altered or performed work to property located at 1725 Nunez

Street A-C, New Orleans, Louisiana 70114 from 2005 to the present, and for each, please set forth:



               (a)    A detailed description of any estimate provided; and
                                                Exhibit 6




                (b)     A detailed description of the work done/repairs made, including dates and
                        costs of repairs.

INTERROGATORY NO. 3:

        Please itemize by dollar amount and type, all damages which you are claiming in this

lawsuit arising out of the August 29, 2021 incident.

INTERROGATORY NO. 4:

        Please describe in detail each article or item that you claim was damaged, lost or destroyed in

the loss in question.

INTERROGATORY NO. 5:

        Please state whether any of the items allegedly damaged in the alleged loss made the

subject of this litigation were repaired following the loss in question and, if so, for each item,

please state:


        (a)     The name and address of the person or entity who made the repairs; and

        (b)     The cost of the repairs.

INTERROGATORY NO. 6:

        With respect to any claim for recovery of damages to the property at 1725 Nunez Street A-

C, New Orleans, Louisiana 70114 please answer with specificity the following:

        (a)     The total dollar amount Plaintiff allege it will cost to repair and/or replace the
                damage(s) described in the answer to Subpart (a) of this interrogatory; and

INTERROGATORY NO. 7:

        Please state when, in what manner, and to whom you first reported the insurance claim

which you have asserted against the defendant in this matter.

INTERROGATORY NO. 8:

        If applicable, please state when and to whom that any alleged proof of loss was submitted.

INTERROGATORY NO. 9:

        Please specify in detail each and every fact that supports Plaintiff’s bad faith allegations

against Safepoint in their Petition.

INTERROGATORY NO. 10:

        Please provide the following information regarding the property located at 1725 Nunez

Street A-C, New Orleans, Louisiana 70114:


        (a)     The date Plaintiff purchased the property;
                                                 2
                                                 Exhibit 6




        (b)      The purchase price paid by Plaintiff for the property; and

        (c)      The date the property was built.

INTERROGATORY NO. 11:

        Please identify all mortgage holders or other lienholders on the property located at 1725

Nunez Street A-C, New Orleans, Louisiana 70114. For each mortgage or lien, please provide the

balance of each mortgage.

INTERROGATORY NO. 12:

        Please describe the contract in detail, including date and terms of contract, for any

pending contracts associated with the property, including but not limited to lease-purchase

agreements, leases, sales, etc., in the past ten years.

INTERROGATORY NO. 13:

        Has/have Plaintiff(s) received any payments (including, but not limited to, loans) or applied

for any relief, benefits and/or grants of any kind or description from any person, insurance company,

federal or state governmental agency, or charitable organization (i.e. FEMA, Red Cross, Louisiana

Recovery Authority, SBA) as a result of any damages sustained by Plaintiff(s) in relation to the

property located at 1725 Nunez Street A-C, New Orleans, Louisiana 70114?

INTERROGATORY NO. 14:

        Identify any insurance policies that were maintained on the property located at 1725 Nunez

Street A-C, New Orleans, Louisiana 70114, including flood policies and state whether Plaintiff(s)

has/have made a claim under any such policies. If such a claim has been made, please identify the

claim number, policy number, adjuster, and state whether Plaintiff(s) received any payment under

such policies.

INTERROGATORY NO. 15:

        Please state whether you, your attorneys, representatives or anyone acting on your behalf

have obtained statements in any form regarding any of the events or happenings giving rise to your

claim and please describe those statements in detail.

INTERROGATORY NO. 16:

        Please identify each expert you have consulted for this matter and describe in detail the

reason for their consultation.



                                                    3
                                              Exhibit 6




       These interrogatories are deemed to be continuing and should Plaintiff or their attorneys

become aware of additional information which changes or modifies any answers herein, Defendant

specifically requests that Plaintiff’s responses to interrogatories be supplemented or amended.



                                              Respectfully Submitted:

                                               /s/ John A. Doran
                                               NICHOLAS P. ARNOLD – #31602
                                               narnold@bluewilliams.com
                                               JOHN A. DORAN – #39161
                                               jdoran@bluewilliams.com
                                               BLUE WILLIAMS, LLC
                                               3421 N. Causeway Boulevard, Suite 900
                                               Metairie, Louisiana 70002
                                               Telephone: (504) 831-4091
                                               Facsimile: (504) 831-1182
                                               Attorneys for Defendant, Safepoint Insurance
                                               Company



                                      CERTIFICATE

       This is to certify that a copy of the above and foregoing has been served upon counsel of

record by facsimile, e-mail, and/or depositing same in the United States Mail, postage pre-paid,

this 30th day of June 2023, at Metairie, Louisiana.




                                               /s/ John A. Doran
                                               NICHOLAS P. ARNOLD
                                               JOHN A. DORAN




                                                 4
                                               Exhibit 6




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                          *        CIVIL ACTION NO.:
                                                           *        2:22-04054
 VERSUS                                                    *
                                                           *
                                                           *        CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                               *        NANNETTE JOLIVETTE
                                                           *        BROWN
                                                           *
                                                           *        MAGISTRATE JUDGE
                                                                    DONNA PHILLIPS
                                                                    CURRAULT
 ***************************                               *

                    REQUESTS FOR PRODUCTION OF DOCUMENTS


    TO:        Glenn Washington
               Through his attorney of record
               Justin Winch
               WINCH LAW FIRM, LLC
               1000 Veterans Memorial Boulevard, Suite 216
               Metairie, LA 70005


        NOW COMES Safepoint Insurance Company (“Safepoint”), who propounds the

following Requests for Production of Documents to Safepoint to be responded to, in writing,

within thirty (30) days after receipt hereof pursuant to Rule 34 of the Federal Rules of Civil

Procedure, which requests shall be deemed continuing:


REQUEST FOR PRODUCTION NO. 1:

       Please provide copies, a description by category, and the location of all documents, data

compilations, and tangible things that are in the possession, custody or control of Plaintiff, or his

attorney, that Plaintiff(s) may use to support each claim as set forth in his Petition for Damages.

REQUEST FOR PRODUCTION NO. 2:

       Please produce photographs, videos, satellite or other images of the property located at

address 1725 Nunez Street A-C, New Orleans, Louisiana 70114 interior and exterior, which were

taken from 2005 to the present, and identify the date that each was taken.

REQUEST FOR PRODUCTION NO. 3:

      Produce a copy of all records relating to any repairs and/or appraisals performed as a result

of the August 29, 2021 incident serving the basis of Plaintiff’s claim.
                                                  Exhibit 6




REQUEST FOR PRODUCTION NO. 4:

          Produce a copy of all bills received in connection with any repair work performed at the

property located at address 1725 Nunez Street A-C, New Orleans, Louisiana 70114, incidents

serving the basis of Plaintiff’s claims.

REQUEST FOR PRODUCTION NO. 5:

          Produce a copy of any and all records relative to the August 29, 2021 incident and the

damages Plaintiff claims were caused by the incident.

REQUEST FOR PRODUCTION NO. 6:

          Produce a copy of all expert reports rendered in connection with Plaintiff’s claims.

REQUEST FOR PRODUCTION NO. 7:

          Please produce any and all documents Plaintiff(s) – either by Plaintiff(s) directly or through

his/its/their agent(s) – presented to Safepoint or any agent of Safepoint in support of Plaintiff’s

claims.

REQUEST FOR PRODUCTION NO. 8:

          Produce a copy of all evidence, including but not limited to any records, documents,

correspondence, emails, and/or letters which Plaintiff claim supports their claim of bad faith on the

part of Safepoint.

REQUEST FOR PRODUCTION NO. 9:

          Please produce a computation of each category or element of damages described in

Plaintiff’s Petition for Damages.

REQUEST FOR PRODUCTION NO. 10:

          Produce a copy of all records relative to any repairs performed from 2005 to present

at/for/to address 1725 Nunez Street A-C, New Orleans, Louisiana 70114.

REQUEST FOR PRODUCTION NO. 11:

          Produce all polices of insurance covering the property located at 1725 Nunez Street A-C,

New Orleans, Louisiana 70114 including but not limited to any homeowner’s, fire or business

interruption insurance policies, that were in effect on August 29, 2021.
                                                  Exhibit 6




REQUEST FOR PRODUCTION NO. 12:

         Produce a copy of all records relative to any claims made for any property damage in

connection with Hurricanes Katrina, Rita, Gustav, Ike, Isaac, and Zeta.

REQUEST FOR PRODUCTION NO. 13:

         Produce a copy of any and all records relative to any prior claims other than those

referenced in Request for Production No. 12 for damage to address 1725 Nunez Street A-C, New

Orleans, Louisiana 70114.

REQUEST FOR PRODUCTION NO. 14:

         Produce a copy of any and all records showing any insurance payments made to Plaintiff(s)

from 2005 to present for any damage to address 1725 Nunez Street A-C, New Orleans, Louisiana

70114.

REQUEST FOR PRODUCTION NO. 15:

         Produce all invoices and/or bills for the performance of any services in relation to the

property at address 1725 Nunez Street A-C, New Orleans, Louisiana 70114 from 2005 to the

present.

REQUEST FOR PRODUCTION NO. 16:

         Produce a copy of any and all real estate appraisals ever performed on address 1725 Nunez

Street A-C, New Orleans, Louisiana 70114.

REQUEST FOR PRODUCTION NO. 17:

         Produce a copy of all exhibits Plaintiff(s) may offer into evidence at the trial of this matter.

REQUEST FOR PRODUCTION NO. 18:

         Produce a current curriculum vitae of each expert whom Plaintiff(s) expects to call as an

expert witness at trial.

REQUEST FOR PRODUCTION NO. 19:

         Produce all documents prepared or reviewed by each person whom Plaintiff(s) expects to

call as an expert witness at trial.
                                               Exhibit 6




REQUEST FOR PRODUCTION NO. 20:

       Produce all photographs and/or videos taken by Plaintiff(s) or by any expert retained by

Plaintiff(s) or acting on Plaintiff’s behalf which pertain to the claims made in Plaintiff’s Petition

for Damages.

REQUEST FOR PRODUCTION NO. 21:

       Produce all written, recorded, or signed statements of any person concerning the subject

matter of this action.

REQUEST FOR PRODUCTION NO. 22:

       Produce a copy of any and all leases and/or lease agreements associated with the property

made subject of Plaintiff’s lawsuit within the last ten years.

REQUEST FOR PRODUCTION NO. 23:

       Please produce copies of Plaintiff’s State and Federal tax returns for the last five (5) years.

REQUEST FOR PRODUCTION NO. 24:

       Please produce any and all documents of any kind identified in your answers to the

accompanying Interrogatories, which have not been produced in response to any of the above

Requests for Production.

REQUEST FOR PRODUCTION NO. 25:

       If you answered in the affirmative in your Answer to Interrogatory No. 9, please return

signed and dated forms attached hereto, namely the HIPAA Specific Authorization.

REQUEST FOR PRODUCTION NO. 26:

       Please produce any and all correspondence, including letter, e-mail, or text message,

between Plaintiff(s) and any tenant, including a tenant representative, regarding allegedly lost

rental income described in Plaintiff’s Petition for Damages.

REQUEST FOR PRODUCTION NO. 27:

       Please produce any and all proof of rental payments paid by tenant(s) for the subject

property from 2005 to the present.
                                              Exhibit 6




       These Requests for Production are deemed to be continuing and should Plaintiff or counsel
become aware of additional information which changes or modifies any answers herein, Defendant
specifically requests that your answers be supplemented and/or amended.




                                              Respectfully Submitted:

                                              /s/ John A. Doran

                                              NICHOLAS P. ARNOLD – #31602
                                              narnold@bluewilliams.com
                                              JOHN A. DORAN – #39161
                                              jdoran@bluewilliams.com
                                              BLUE WILLIAMS, LLC
                                              3421 N. Causeway Boulevard, Suite 900
                                              Metairie, Louisiana 70002
                                              Telephone: (504) 831-4091
                                              Facsimile: (504) 831-1182
                                              Attorneys for Defendant, Safepoint Insurance
                                              Company



                                       CERTIFICATE

       This is to certify that a copy of the above and foregoing has been served upon counsel of

record by facsimile, e-mail, and/or depositing same in the United States Mail, postage pre-paid,

this 30th day of June 2023, at Metairie, Louisiana.




                                              /s/ John A. Doran
                                              NICHOLAS P. ARNOLD
                                              JOHN A. DORAN
                                             Exhibit 6




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                        *        CIVIL ACTION NO.:
                                                         *        2:22-04054
 VERSUS                                                  *
                                                         *
                                                         *        CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                             *        NANNETTE JOLIVETTE
                                                         *        BROWN
                                                         *
                                                         *        MAGISTRATE JUDGE
                                                                  DONNA PHILLIPS
                                                                  CURRAULT
 ***************************                             *

                                       VERIFICATION

STATE OF LOUISIANA
PARISH OF ____________________



       BEFORE ME, the undersigned authority, a Notary Public, duly commissioned and

qualified in and for the State and Parish aforesaid, personally came and appeared:

                                   GLENN WASHINGTON

who after being duly sworn, did depose and say that he has read the foregoing Answers to

Interrogatories and Responses to Requests for Production of Documents in the above-captioned

matter; and that the answers contained therein are true and complete to the best of his knowledge,

information, and belief.



                                             GLENN WASHINGTON




SWORN TO AND SUBSCRIBED
BEFORE ME, NOTARY, THIS
______ DAY OF ________________, 2023

____________________________
NOTARY PUBLIC
